Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                     Page 1 of 22 PageID 3911



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

                                                §
 THE STATE OF TEXAS and                         §
                                                §
 THE STATE OF MISSOURI,                         §
                                                §
         Plaintiffs,                            §        Case No. 2:21-cv-00067-Z
                                                §
 v.                                             §
                                                §
 JOSEPH R. BIDEN, JR., in his official capacity §
 as President of the United States of           §
 America, et al.,                               §
                                                §
         Defendants.                            §


                              SECOND AMENDED COMPLAINT

        1.      On December 20, 2018, the Department of Homeland Security (DHS) announced a

new program: the Migrant Protection Protocols (MPP). MPP was created in response to an

immigration surge at the southern border, and a resulting “humanitarian and border security crisis” in

which federal immigration officials were encountering approximately 2,000 inadmissible aliens each

day. ECF 94 at 7. MPP provided that certain non-Mexican nationals arriving by land from Mexico

would be returned to Mexico to await the results of their removal proceedings under 8 U.S.C. § 1229a.

On the same day that DHS announced the program, the Government of Mexico agreed that it would

cooperate in administering it, on a temporary basis. ECF 94 at 8.

        2.      MPP was implemented pursuant to express congressional authorization in the

Immigration and Nationality Act (INA), which provides that “[i]n the case of an alien ... who is arriving

on land (whether or not at a designated port of arrival) from a foreign territory contiguous to the

United States, the Attorney General may return the alien to that territory pending a proceeding

under section 1229a of this title.” 8 U.S.C. § 1225(b)(2)(C).
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                   Page 2 of 22 PageID 3912


       3.      A separate provision of the same section of the INA states that if “an alien seeking

admission is not clearly and beyond a doubt entitled to be admitted, the alien shall be detained for a

proceeding under section 1229a of this title.” 8 U.S.C. § 1225(b)(2)(A). DHS lacks the resources to

detain every alien seeking admission to the United States. ECF 94 at 43. Ameliorating that problem

was one reason the Trump administration chose to implement MPP; the program ensured that

“[c]ertain aliens attempting to enter the U.S. illegally or without documentation, including those who

claim asylum, will no longer be released into the country, where they often fail to file an asylum

application and/or disappear before an immigration judge can determine the merits of any

claim.” ECF 94 at 8.

       4.      In January 2019, DHS began implementing MPP, initially in San Diego, California,

then in El Paso, Texas, and Calexico, California, and then nationwide. ECF 94 at 8. By December 31,

2020, DHS had enrolled 68,039 aliens in the program. ECF 94 at 12.

       5.      Following the 2020 election, however, the newly inaugurated Biden Administration

sought to terminate the program. On January 20, 2021, the Acting Secretary of DHS wrote that

“[e]ffective January 21, 2021, the Department will suspend new enrollments in [MPP] pending further

review of the program. Aliens who are not already enrolled in MPP should be processed under other

existing legal authorities.” ECF 94 at 15 (the “January Suspension”). President Biden also

issued Executive Order No. 14010, which directed the new Secretary of Homeland Security, Alejandro

N. Mayorkas, to “promptly review and determine whether to terminate or modify the [MPP]

program.” 86 Fed. Reg. 8269 (2021). The effects on the border were immediate—according to the

Government’s own data, border “encounters jump[ed] from 75,000 in January 2021,” when MPP was

first suspended, to about “173,000 in April 2021.” ECF 94 at 17.

       6.      On June 1, 2021, Secretary Mayorkas issued a memorandum officially terminating

MPP (the “June 1 Memorandum”). In that memorandum, the Secretary noted his determination “that

                                                  2
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                     Page 3 of 22 PageID 3913


MPP [d]oes not adequately or sustainably enhance border management in such a way as to justify the

program’s extensive operational burdens and other shortfalls.” ECF 94 at 16. For this and other

reasons, the Secretary announced that he was “by this memorandum terminating the MPP program,”

and “direct[ed] DHS personnel to take all appropriate actions to terminate MPP, including taking all

steps necessary to rescind implementing guidance and other directives or policy guidance issued to

implement the program.” ECF 54-2, App.467.

        7.       On April 13, 2021, Plaintiffs the States of Texas and Missouri initiated this lawsuit

challenging this Administration’s shutdown of MPP. ECF 1. Plaintiffs’ initial complaint challenged

the January Suspension that paused new enrollments in MPP, but following the June 1 Memorandum,

they amended their complaint to challenge the termination of the entire program. The First Amended

Complaint asserted that the June 1 Memorandum violated the INA and the Administrative Procedure

Act (APA), 5 U.S.C. § 701 et seq., and sought preliminary and permanent injunctive relief, declaratory

relief, and vacatur of the termination pursuant to the APA. ECF 48.

        8.       After a consolidated preliminary injunction hearing and a trial on the merits

under Federal Rule of Civil Procedure 65(a)(2), this Court vacated Defendants’ decision to terminate

MPP as arbitrary and capricious, ECF 94 at 34–42, and as contrary to law for causing Defendants to

exacerbate their violation of the mandatory detention requirements of section 1225(b)(1)(B)(iii)(IV),

ECF 94 at 42–44. The Court then enjoined Defendants to continue to implement MPP “in good faith

until such a time as it has been lawfully rescinded in compliance with the APA and until such a time

as the federal government has sufficient detention capacity to detain all aliens subject to mandatory

detention under Section 1255 without releasing any aliens because of a lack of detention resources.” ECF

94 at 52 (Biden I).

        9.       Defendants sought a stay of that order, which the Fifth Circuit denied. Texas v. Biden,

10 F.4th 538, 543–561 (2021) (per curiam).

                                                   3
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                     Page 4 of 22 PageID 3914


        10.     Defendants then sought a stay in the Supreme Court, but their application there was

also denied as they “had failed to show a likelihood of success on the claim that the [June 1

Memorandum] was not arbitrary and capricious.” 594 U. S. ––––, 142 S.Ct. 926 (2021).

        11.     Two business days before oral argument on the merits in the Fifth Circuit, DHS issued

two memoranda (the “October 29 Memoranda”) declaring that it had made a new decision terminating

MPP. See Ex. A, Termination of the Migrant Protection Protocols (the “Termination Memorandum”);

Ex. B, Explanation of the Decision to Terminate the Migrant Protection Protocols (the “Explanation

Memorandum”). At the same time, Defendants asked the Fifth Circuit to hold that the case was moot,

to vacate this Court’s judgment and permanent injunction, and to remand the case for further

proceedings. Texas v. Biden, 20 F.4th 928, 946 (5th Cir. 2021) (Biden II). The Fifth Circuit declined,

holding that the October 29 Memoranda did not moot—or have any legal effect on—the appeal. Id.

at 956–966, 998–1000. The Fifth Circuit then affirmed this Court on the merits.

        12.     The Supreme Court granted certiorari, 595 U. S. ––––, 142 S.Ct. 1098, 212 (2022), and

expedited consideration of the appeal at Defendants’ request.

        13.     On June 30, the Supreme Court reversed the Fifth Circuit. Biden v. Texas, 142 S. Ct.

2528 (2022) (Biden III). First, it found that this Court’s permanent injunction was barred by 8 U.S.C. §

1252(f)(1), 1 id. at 2538, though that provision “does not deprive the lower courts of all subject matter

jurisdiction over claims brought under sections 1221 through 1232 of the INA.” Id. at 2539.

        14.     The Court also held that the termination of MPP did not itself violate the mandatory

detention requirements of section 1225(b)(2)(A), id. at 2541–43, although the majority




        1
         “Regardless of the nature of the action or claim or of the identity of the party or parties
 bringing the action, no court (other than the Supreme Court) shall have jurisdiction or authority to
 enjoin or restrain the operation of [8 U.S.C. §§ 1221–1232], other than with respect to the application
 of such provisions to an individual alien against whom proceedings under [those provisions] have
 been initiated.”
                                                   4
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                       Page 5 of 22 PageID 3915


“assume[d] arguendo … that the dissent’s interpretation [advanced by Justice Alito] of section

1225(b)(2)(A) is correct, and that the Government is currently violating its obligations under that

provision.” Id. at 2542.

        15.     Biden III did not disturb any of the holdings of this Court or the Fifth Circuit on issues

of standing or reviewability to challenge a termination of MPP, the limits on parole authority, or the

mandatory nature of the detention requirements of section 1225.

        16.     The Supreme Court expressly left open a challenge in this Court to the October 29

Memoranda as arbitrary and capricious under the APA. Biden III, 142 S. Ct. at 2548 (“On remand, the

District Court should consider in the first instance whether the October 29 Memoranda comply with

section 706 of the APA.”) (citing Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 46–57 (1983)); id. at 2549 (Kavanaugh, J., concurring) (“The question of whether DHS’s

October 29 decision satisfies the State Farm standard is not before this Court at this time. The Court

today therefore properly leaves the State Farm issue for consideration on remand.”); id. at 2559 (Alito,

J., dissenting) (“I agree with the majority that the District Court on remand should consider in the

first instance whether the October 29 Memoranda complied with § 706 of the APA.”).

        17.     Indeed, the Court determined that the October 29 Memoranda constituted final

agency action that superseded the June 1 Memorandum. Id. at 2544. Plaintiffs now challenge the

October 29 Memoranda, which—like its predecessor—suffers from arbitrary and capricious

decisionmaking.

        18.     On October 29, the Secretary released the Termination Memorandum, consisting of

four pages that again announced the termination of MPP, along with the 39-page Explanation

Memorandum explaining his reasons for doing so. As the Secretary explained it, these October 29

Memoranda “examined considerations that the District Court determined were insufficiently

addressed in the June 1 Memorandum, including claims that MPP discouraged unlawful border

                                                     5
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                       Page 6 of 22 PageID 3916


crossings, decreased the filing of non-meritorious asylum claims, and facilitated more timely relief for

asylum seekers, as well as predictions that termination of MPP would lead to a border surge, impose

undue costs on states, put a strain on U.S.-Mexico relations, and cause DHS to fail to comply with its

[detention] obligations under 8 U.S.C. § 1225.” Ex. B, Explanation Memorandum at 12.

        19.     The Secretary acknowledged what he called “the strongest argument in favor of

retaining MPP: namely, the significant decrease in border encounters following the determination to

implement MPP across the southern border.” Ex. A, Termination Memorandum at 3. But he

nonetheless concluded that the program’s “benefits do not justify the costs, particularly given the way

in which MPP detracts from other regional and domestic goals, foreign-policy objectives, and

domestic policy initiatives that better align with this Administration’s values.” Id. Finally, the Secretary

noted that “[e]fforts to implement MPP have played a particularly outsized role in diplomatic

engagements with Mexico, diverting attention from more productive efforts to fight transnational

criminal and smuggling networks and address the root causes of migration.” Id.

        20.     In light of those conclusions, the Secretary announced that he was once again “hereby

terminating MPP.” Id. at 4. He explained that DHS would “continue complying with the [this Court’s]

injunction requiring good-faith implementation and enforcement of MPP,” but that “the termination

of MPP” would be “implemented as soon as practicable after a final judicial decision to vacate” that

injunction. I

                                                PARTIES

        21.     Plaintiffs incorporate by reference all other paragraphs.

        22.     Plaintiff State of Texas is a sovereign State of the United States of America.

        23.     Defendants’ unlawful termination of MPP injures Texas. MPP reduced both the

number of illegal aliens attempting to come to Texas and the percentage of illegal aliens released into

Texas and the rest of the United States. Discontinuing MPP has increased and will increase the number

                                                     6
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                     Page 7 of 22 PageID 3917


of illegal aliens attempting to come to Texas and the percentage of illegal aliens released into Texas

and the rest of the United States. That harms Texas in multiple ways.

        24.     Discontinuing MPP will cause Texas to “incur significant costs in issuing driver’s

licenses.” Texas, 809 F.3d at 155. Texas law subsidizes driver’s licenses, including for noncitizens who

have “documentation issued by the appropriate United States agency that authorizes [them] to be in

the United States.” Id. (quoting Tex. Transp. Code § 521.142(a)). Aliens paroled into the United States,

rather than enrolled in MPP, will be eligible for subsidized driver’s licenses. 2 By enabling more aliens

to secure subsidized licenses, discontinuing MPP will impose significant financial harm on the State

of Texas. See Texas, 809 F.3d at 155.

        25.     Texas spends significant amounts of money providing services to illegal aliens. Those

services include education services and healthcare, as well as many other social services broadly

available in Texas. Federal law requires Texas to include illegal aliens in some of these programs.

Discontinuing MPP will injure Texas by increasing the number of illegal aliens receiving such services

at Texas’s expense.

        26.     The State funds multiple healthcare programs that cover illegal aliens. The provision

of these services—utilized by illegal aliens—results in millions of dollars of expenditures per year.

These services include the Emergency Medicaid program, the Texas Family Violence Program, and

the Texas Children’s Health Insurance Program.

        27.     The Emergency Medicaid program provides health coverage for low-income children,

families, seniors and the disabled. Federal law requires Texas to include illegal aliens in its Emergency

Medicaid program. The program costs the State tens of millions of dollars annually.




        2
          Tex. Dep’t of Public Safety, Verifying Lawful Presence 4 (Rev. 7-13), https://
 www.dps.texas.gov/sites/default/files/documents/driverlicense/documents/verifying
 lawfulpresence.pdf (listing “Parolees” as eligible for driver’s licenses).
                                                   7
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                      Page 8 of 22 PageID 3918


        28.     The Texas Family Violence Program provides emergency shelter and supportive

services to victims and their children in the State of Texas. Texas spends over a million dollars per

year on the Texas Family Violence Program for services to illegal aliens.

        29.     The Texas’s Children’s Health Insurance Program offers low-cost health coverage for

children from birth through age 18. Texas spends tens of millions of dollars each year on CHIP

expenditures for illegal aliens.

        30.     Further, Texas faces the costs of uncompensated care provided by state public hospital

districts to illegal aliens which results in expenditures of hundreds of millions of dollars per year.

        31.     Aliens and the children of those aliens receive education benefits from the State at

significant taxpayer expense. Defendants’ failure to detain criminal aliens increases education

expenditures by the State of Texas each year for children of those aliens.

        32.     Plaintiff State of Missouri is a sovereign State of the United States of America.

        33.     There is a well-documented and tragic connection between human trafficking in the

Midwest and unlawful immigration from the southern border. Indeed, data makes it readily apparent

that trafficking on the southern border is a contributing factor to overall rates of human trafficking in

the United States—and such cross-border human trafficking activity directly affects the overall

prevalence of human trafficking within Missouri. 3 The prevalence of human trafficking in Missouri


        3
           See generally U.S. Department of State, Trafficking in Persons Report (20th ed., June 2020),
 https://www.state.gov/wp-content/uploads/2020/06/2020-TIP-Report-Complete-062420-
 FINAL.pdf; U.S.-Mexico Bilateral Human Trafficking Enforcement Initiative, U.S. DEPARTMENT OF
 JUSTICE, https://www.justice.gov/humantrafficking/special-initiatives#bilateral (last visited Mar.
 30, 2021) (“Mexico is the country of origin of the largest number of foreign-born human trafficking
 victims identified in the United States.”); Polaris Project, Fighting Human Trafficking Across the U.S. –
 Mexico Border (2018), https://polarisproject.org/wp-content/uploads/2016/10/Consejo-NHTH-
 Statistics-2018.pdf (“Every day, powerful criminal networks and individual traffickers on both sides
 of the border recruit people for labor or sexual exploitation.”); U.S. Customs and Border Protection,
 CBP Releases Fiscal Year 2020 Southwest Border Migration and Enforcement Statistics (Oct. 14, 2020),
 https://www.cbp.gov/newsroom/national-media-release/cbp-releases-fiscal-year-2020-southwest-


                                                    8
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                   Page 9 of 22 PageID 3919


directly affects Missouri financially.

        34.      Because “[h]uman trafficking is a form of modern slavery that occurs in every state,

including Missouri[,]” 4 the Attorney General of Missouri has created a Human Trafficking Task Force

that is designed and structured to identify, respond to, investigate, and ultimately eradicate human

trafficking in Missouri. 5

        35.      While one case of human trafficking in Missouri is tragic enough, Missouri has seen

higher numbers just in the last few years. For example, of the 233 human trafficking cases reported in

Missouri to the Human Trafficking Hotline in 2019, 21 were foreign nationals. 6 Of the 179 human

trafficking cases reported in Missouri to the Human Trafficking Hotline in 2018, 18 were foreign

nationals. 7 And of the 146 human trafficking cases reported in Missouri to the Human Trafficking

Hotline in 2017, 17 were foreign nationals. 8

        36.      Missouri annually expends funds on the Human Trafficking Task Force and Human

Trafficking Hotline to combat human trafficking. Those amounts will increase should DHS be allowed

to discontinue implementation of MPP.

        37.      When DHS fails to implement MPP and comply with federal law, Missouri faces other

significant costs. Aside from the higher costs associated with fighting human trafficking, the

Administration’s decision to end MPP—and therefore allow more unlawfully present aliens to enter

and remain in Missouri—requires Missouri to increase taxpayer expenditures for social and



 border-migration-and; United Nations Office on Drugs and Crime, Global Report on Trafficking in
 Persons                                      (2018), https://www.unodc.org/documents/data-and-
 analysis/glotip/2018/GLOTiP_2018_BOOK_web_small.pdf.
         4
                   Missouri,         NATIONAL       HUMAN           TRAFFICKING      HOTLINE,
 https://humantraffickinghotline.org/state/missouri (last visited Apr. 11, 2021).
         5
             Human Trafficking Task Force, OFFICE OF THE MISSOURI ATTORNEY GENERAL,
 https://ago.mo.gov/home/human-trafficking/task-force (last visited Mar. 29, 2021).
         6
           Missouri, supra, at n.10.
         7
           Id.
         8
           Id.
                                                  9
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                       Page 10 of 22 PageID 3920


educational services for such aliens, resulting in irreparable injury.

        38.      The Biden Administration’s unlawful termination of MPP will require Missouri to

increase funding for its Human Trafficking Task Force, which will have to expend substantially more

resources in order to combat a substantial increase in human trafficking efforts that arise out of the

mass-migration surge.

        39.      While the costs of combating human trafficking will vary from state to state, Texas

and Missouri will inevitably face these costs. For example, a report from 2016 concluded that Texas

spends approximately $6.6 billion in lifetime expenditures on minor and youth sex trafficking victims,

and that traffickers exploit approximately $600 million annually from victims of labor trafficking in

Texas (i.e., lost wages), which necessarily results in corresponding lost tax revenue to the State. 9

Missouri faces comparable costs. Other States likewise suffer these costs proportional to their sizes

and populations of trafficking victims.

        40.      Defendants are officials of the United States government and United States

governmental agencies responsible for the issuance and implementation of the challenged termination

of MPP.

        41.      Defendant Joseph R. Biden, Jr., is the President of the United States of America. He

is sued in his official capacity.

        42.      Defendant United States Department of Homeland Security is a federal cabinet agency

responsible for implementing and enforcing certain immigration-related statutes, policies, and

directives, including the termination of MPP. DHS is a Department of the Executive Branch of the

United States Government and is an agency within the meaning of 5 U.S.C. § 551(1). DHS oversees




        The University of Texas at Austin, School of Social Work: Institute on Domestic Violence
        9

 and Sexual Assault, Human Trafficking by the Numbers (2016), https://globalinitiative.net/wp-
 content/uploads/2018/01/Human-trafficking-by-the-numbers.pdf.
                                                    10
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                       Page 11 of 22 PageID 3921


Defendants’ Office of Strategy, Policy, and Plans, United States Citizenship and Immigration Services,

United States Customs and Border Protection, and United States Immigration and Customs

Enforcement.

        43.     Defendant Alejandro N. Mayorkas is the Secretary of Homeland Security and the head

of DHS. He authored the October 29 Memoranda. He is sued in his official capacity.

        44.     Defendant Robert Silvers is the Under Secretary for the Office of Strategy, Policy, and

Plans. 10 He received the October 29 Memoranda. He is sued in his official capacity.

        45.     Defendant Troy A. Miller is the Acting Commissioner of the United States Customs

and Border Protection. He received the October 29 Memoranda. He is sued in an official capacity.

        46.     Defendant Tae D. Johnson is the Acting Director of the United States Immigration

and Customs Enforcement. He received the October 29 Memoranda. He is sued in his official

capacity.

        47.     Defendant Ur M. Jaddou is the Director of the United States Citizenship and

Immigration Services. 11 She received the October 29 Memoranda. She is sued in her official capacity.

                                   JURISDICTION AND VENUE

        48.     Plaintiffs incorporate by reference all other paragraphs.

        49.     The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1361, and 2201(a). This

action arises under 5 U.S.C. §§ 702-703, and other federal statutes.

        50.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(e).

Defendants are United States agencies or officers sued in their official capacities. The State of Texas

is a resident of this judicial district and a substantial part of the events or omissions giving rise to this



      10 Pursuant to Fed. R. Civ. P. 25(d), Defendant Robert Silvers is automatically substituted for
 Defendant Kelli Ann Burriesci, his predecessor in this position.
      11
         Pursuant to Fed. R. Civ. P. 25(d), Defendant Ur M. Jaddou is automatically substituted for
 Defendant Tracy L. Renaud, her predecessor in this position.
                                                    11
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                    Page 12 of 22 PageID 3922


complaint occurred and continue to occur within the Northern District of Texas.

        51.     Texas and Missouri bring this action to redress harms to their sovereign interests,

quasi-sovereign interests, proprietary interests, and interests as parens patriae; and to vindicate their

interests under 5 U.S.C. § 702. Plaintiffs’ ongoing fight against human trafficking—including the

exploitation and trafficking of vulnerable migrants—provides them with justiciable interests that fall

within the zone of interests of federal statutes on immigration-related policy. The injury to Texas’s

and Missouri’s fiscal interests from the increase in unlawful migrants entering and remaining in Texas

and Missouri provides them with redressable injuries in this case as well.

        52.     This Court is authorized to award the requested relief under 5 U.S.C. § 703, 5 U.S.C.

§ 705, 5 U.S.C. § 706, 28 U.S.C. §§ 1361, 2201, and 2202, and its inherent equitable powers.

                                               CLAIMS

                                            COUNT I
                            (Arbitrary and Capricious Agency Action)

        53.     Plaintiffs incorporate by reference all other paragraphs.

        54.     The APA prohibits agency action that is “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

        55.     The termination of MPP constitutes final agency action reviewable under the APA. See

5 U.S.C. § 701. Defendants cannot identify any “clear and convincing evidence of legislative intention

to preclude review” of Defendants’ termination of MPP. Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478

U.S. 221, 230 n.4 (1986).

        56.     Federal administrative agencies are required to engage in “reasoned decision-making.”

Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374 (1998) (quotation marks omitted). “Not

only must an agency’s decreed result be within the scope of its lawful authority, but the process by

which it reaches that result must be logical and rational.” Id. Put differently, “agency action is lawful


                                                  12
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                      Page 13 of 22 PageID 3923


only if it rests ‘on a consideration of the relevant factors.’” Michigan v. EPA, 576 U.S. 743, 750 (2015)

(quoting Motor Vehicle Mfrs. Assn. of United States, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983)).

           57.   DHS has previously recognized the importance of MPP. The current Administration

failed to consider the benefits of the MPP program (and the costs of not having it), as detailed by the

prior Administration. Failing to consider important costs of a new policy renders that policy arbitrary

and capricious. See Michigan, 135 S. Ct. at 2706 (“[A]gency action is lawful only if it rests ‘on a

consideration of the relevant factors.’”).

                 Plaintiffs have standing to bring this claim.

           58.   Plaintiffs have standing to challenge Defendants’ termination of MPP for the same

reasons that they had standing to challenge the previous termination of the program. This Court’s

previous determinations on standing constitute the law of the case because the challenged agency

action here is identical to the previous one: whereas under MPP large numbers of aliens who would

have otherwise been imposing costs on the States were instead required to wait in Mexico pending the

determination of their asylum proceedings, the termination of the program led to the imposition of

those costs. ECF 94 at 17–26; see also Biden II, 20 F.4th at 966–76 (finding States had standing to

challenge agency action terminating MPP, including for claim of arbitrary-and-capricious

decisionmaking under the APA).

                 Plaintiffs have a cause of action.

           59.   This Court has already determined that the States’ claims challenging the termination

of MPP fall within the zone of interests of the INA. ECF 94 at 33–34; see also Biden II, 20 F.4th at 975–

76. Nothing could justify a different result here as the subsequent October 29 Memoranda purports

to do the same thing: terminate MPP.




                                                    13
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                      Page 14 of 22 PageID 3924


                  The October 29 Memoranda are subject to judicial review.

        60.       8 U.S.C. § 1252(f)(1) does not bar a stay of the effective date, vacatur, or declaratory

relief regarding the October 29 Memoranda. The Supreme Court noted “the narrowness of [Section

1252(f)(1)’s] scope” as indicated by its tile: “Limit on injunctive relief.” Biden III, 142 S. Ct. at 2539.

Section 1252(f)(1) only “deprives courts of the power to issue a specific category of remedies: those

that ‘enjoin or restrain the operation of’ the relevant sections of the statute.” Id.

        61.       There is no bar to judicial review of agency action terminating MPP in 8 U.S.C. §§

1252(g), 1252(b)(9), 1252(a)(2)(B)(ii)).

        62.       The termination of MPP is not “agency action … committed to agency discretion by

law,” 5 U.S.C. § 701(a)(2), and is therefore subject to judicial review. ECF 94 at 31–32; see also Biden II,

20 F.4th at 978–88 (same).

                  The October 29 Memoranda are final agency action.

        63.       Agency action is “final” for the purposes of judicial review if two conditions are

met: “First, the action must mark the consummation of the agency’s decisionmaking process—it must

not be of a merely tentative or interlocutory nature. And second, the action must be one by which

rights or obligations have been determined, or from which legal consequences will flow.” Bennett v.

Spear, 520 U.S. 154, 177–78 (1997) (quotation marks omitted). The Supreme Court has already

determined that the October 29 Memoranda satisfy these conditions and “were therefore final agency

action for the same reasons that the June 1 Memorandum was final agency action.” Biden III, 142 S.

Ct. at 2544–45.

                  Defendants failed to adequately consider how using its contiguous-territory
                  return authority would allow them to avoid violations of the INA’s clear
                  detention mandate.

        64.       Though the October 29 Memoranda purport to address compliance with § 1225’s

detention mandate, Ex. B, Explanation Memorandum at 26–29, they rely on incorrect legal


                                                    14
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                    Page 15 of 22 PageID 3925


conclusions, including that “[s]ection 1225 does not impose a near-universal detention mandate,” and

that section 1182(d)(5)(A)’s parole authority permits DHS to parole nearly all aliens subject to section

1225’s mandatory-detention obligation. Ex. B, Explanation Memorandum at 27–29.

       65.     The termination of MPP reduces Defendants’ ability to detain all of the arriving aliens

that Congress has mandated them to do, and DHS failed to adequately consider this effect on that

related statutory requirement.

       66.     By denying that § 1225 creates a detention mandate in the October 29 Memoranda—

despite this Court’s earlier determination to the contrary, ECF 94 at 42–44—Defendants have based

the renewed termination of MPP on arbitrary and capricious grounds. Their erroneous legal root

prevented Defendants from properly analyzing the strength of using MPP to reduce their

noncompliance with their detention mandates.

               Defendants failed to adequately account for MPP’s deterrent effect in reducing
               dangerous attempted illegal border crossings, as well as MPP’s reduction of
               unmeritorious asylum claims.

       67.     The October 29 Memoranda failed to consider key benefits of MPP. For example,

they extensively discussed conditions for migrants in Mexico, Ex. B. Explanation Memorandum at

12–18, but omitted the hardships befalling aliens who make the dangerous journey to the southern

border—even though the Secretary similarly acknowledged that MPP “is likely … to contribute[] to a

decrease in migrant flows.” Ex. B, Explanation Memorandum at 23. The October 29 Memoranda also

had no analysis of the harms avoided by deterring migrants without meritorious asylum claims from

traveling to the United States. Ex. B, Explanation Memorandum at 18–21.

       68.     A substantial harm resulting from migrant flows includes human trafficking. ECF 94

at 20. Defendants dismiss the concern that terminating MPP contributed to an increase in these crimes

by looking at the data for seizures of narcotics, which indicates a decline, including while MPP was

moribund. Ex. B, Explanation Memorandum at 25–26.


                                                  15
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                      Page 16 of 22 PageID 3926


        69.     But Defendants themselves note that “[t]hese declines have been driven by a

substantial decrease in marijuana smuggling,” and the numbers for “hard narcotics … are historically

smuggled through ports of entry and this have very little connection to MPP’s implementation.” Ex.

B, Explanation Memorandum at 25. Indeed, Defendants concede up front that “[s]eizures of narcotics

[are not] necessarily indicative of trafficking activity,” but use this data to determine that there is no

evidence of effects on human trafficking due to implementation of MPP. Ex. B, Explanation

Memorandum at 25.

        70.     This use of admittedly irrelevant data is a hallmark of a lack of rational decisionmaking,

as agencies “must examine the relevant data” and are required to articulate a “rational connection

between the facts found and the choice made.” State Farm, 463 U.S. at 43; see also Biden II, 20 F.4th at

992 (“We do not fault DHS for failing to provide a study. We fault DHS for cherry-picking

a single statistic from the administrative record and relying on it in an entirely nonsensical fashion.”).

        71.     By failing to adequately consider the effects of the implementation of MPP on

deterring illegal border crossings and unmeritorious asylum claims, and in reducing the opportunities

for human trafficking, Defendants did not consider the relevant costs and benefits to make a rational

decision when it terminated MPP.

                Defendants failed to adequately justify their changed factual determinations
                regarding in absentia removal orders.

        72.     The October 29 Memoranda also purport to “rest[] upon factual findings that

contradict those which underlay [DHS’s] prior policy,” but fail to provide the “more detailed

justification” required under those circumstances. FCC v. Fox Television Stations, Inc., 556 U.S. 502, 516–

17 (2009).

        73.     For example, the October 29 Memoranda contain completely different numbers

regarding in absentia removal orders than those contained in the June 1 Memorandum’s administrative

record to show MPP resulted in a high rate of in absentia removals. Ex. B, Explanation Memorandum
                                                    16
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                    Page 17 of 22 PageID 3927


at 18 n.78; id. at 19 n.82; id. at 18–21.

        74.      But Defendants did not explain the discrepancy or contest the Fifth Circuit’s

conclusion “that in absentia removal rates were similar prior to MPP.” Biden II, 20 F. 4th at 991–92; see

also ECF 94 at 40.

        75.      Defendants also never provided a rational explanation why the increased in absentia

removal rates for aliens enrolled in MPP is not an indicator of MPP working; this Court has noted

that “[a] higher rate of in absentia removal is consistent with DHS’s [previous] findings that MPP

reduced the ‘perverse incentives’ to pursue meritless asylum applications.” ECF 94 at 40–41. This

failure to appreciate the relevant costs and benefits of MPP precluded DHS from making a reasoned

determination that considered all relevant factors.

                 Defendants failed to adequately examine whether DHS’s rescission of MPP is
                 causing it to violate the limits on its parole authority.

        76.      The Supreme Court majority in Biden III noted that “the INA expressly authorizes

DHS to process applicants for admission under a third option: parole.” Biden III, 142 S. Ct. at 2543

(citing 8 U.S.C. § 1182(d)(5)(A)). But it also emphasized that this “the authority is not unbounded:

DHS may exercise its discretion to parole applicants ‘only on a case-by-case basis for urgent

humanitarian reasons or significant public benefit.’” Id. (quoting 8 U.S.C. § 1182(d)(5)(A)). “And under

the APA, DHS’s exercise of discretion within that statutory framework must be reasonable and

reasonably explained.” Id. (citing State Farm, 463 U.S. 29).

        77.      The October 29 Memoranda failed to consider how terminating MPP—combined

with Defendants’ inability to detain all arriving aliens—leads to increased violations of the limits on

their parole authority as they release aliens into the United States. Cf. Portland Cement Ass’n, 665 F.3d

at 187 (“an agency must have a similar obligation to acknowledge and account for a changed regulatory

posture the agency creates—especially when the change impacts a contemporaneous and closely

related rulemaking”); Office of Commc’n of the United Church of Christ, 707 F.2d at 1441–42 (finding it
                                                   17
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                       Page 18 of 22 PageID 3928


“seriously disturbing” and “almost beyond belief” that an agency would take rulemaking action

undercutting another “concurrent” rulemaking process).

           78.   Since agencies “have an obligation to deal with newly acquired evidence in some

reasonable fashion,” Catawba Cnty. v. EPA, 571 F.3d 20, 45 (D.C. Cir. 2009), or to “reexamine” their

approaches “if a significant factual predicate” changes, Bechtel v. FCC, 957 F.2d 873, 881 (D.C. Cir.

1992), “an agency must have a similar obligation to acknowledge and account for a changed regulatory

posture the agency creates.” Portland Cement Ass’n, 665 F.3d at 187; see also Office of Commc'n of the United

Church of Christ, 707 F.2d at 1441–42.

           79.   Despite their purported implementation of MPP in good faith, DHS is presently

releasing into the country tens of thousands of individuals per month through parole and otherwise.

The continued violation of the limits on Defendants’ parole authority—even after the re-institution

of MPP—should have led Defendants to consider how terminating MPP would only exacerbate that

problem.

           80.   The loss of MPP as a tool to reduce the numbers paroled without the required

individualized assessment was not adequately considered in the October 29 Memoranda. The

consideration of the relevant costs and benefits of MPP thus did not adequately consider the relevant

factors.

                 Defendants failed to adequately consider costs to States and their reliance
                 interests.

           81.   DHS devoted just a single paragraph purporting to consider costs to the States and

their reliance interests. Ex. B, Explanation Memorandum at 26. It was dismissive towards to costs of

the States on the ground that “[f]ederal immigration policy virtually always affects the number of

people living within the States,” and describes these as “marginal costs” that are “outweighed by the

other considerations and policy concerns.” Ex. B, Explanation Memorandum at 26. But no such

calculation can be rationally made without attempting to quantify these costs—such as the sorts of
                                                    18
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                     Page 19 of 22 PageID 3929


expenses the States set forth earlier in this case—in order to perform such a cost-benefit analysis.

        82.     Plaintiffs also faulted the June 1 Memorandum for the Secretary’s failure to consider

their legitimate reliance interests in MPP’s continued operation or to provide for alternative means of

meeting the Executive’s § 1225 detention obligations. Yet the October 29 Memoranda airily dismiss

the notion that Plaintiffs retain any legitimate reliance interests in MPP’s operation and presume the

Executive may broadly release aliens notwithstanding § 1225’s mandate. Ex. B, Explanation

Memorandum at 26.

        83.     While DHS was required to actually consider Plaintiffs’ financial injuries and other

reliance interests, the October 29 Memoranda did the opposite. Without explaining what inquiry they

made, Defendants breezily assert that “the Secretary is unaware of any State that has materially taken

any action in reliance on the continued implementation … of MPP.” Ex. B, Explanation

Memorandum at 26. The Explanation Memorandum also asserts that “any claimed reliance interest is

undermined by the fact that [MPP] is itself discretionary.” Ex. B, Explanation Memorandum at 26.

        84.     The October 29 Memoranda also maintain that “[t]he short time in which MPP was

in place, as well as the small percentage of noncitizens encountered along the [southwest border] who

were enrolled in MPP while it was in operation, undercut any claimed reliance interest, as well as any

claim regarding significant burdens to the States.” Ex. B, Explanation Memorandum at 26. But this

statement is contradicted by Secretary Mayorkas’s repeated concessions that the benefits of MPP

included deterring aliens from arriving— that is, the reduction of the number of aliens present in the

States included the aliens deterred from arriving by MPP, not just those actually enrolled in MPP.

        85.     The October 29 Memoranda demonstrate failure to evaluate reliance interests by

terminating MPP without adequately considering the reliance interests of States in the control of the

flow of aliens—as assisted by MPP—Defendants failed to shape their “approach [to be] tied, even if

loosely, to the purposes of the immigration laws or the appropriate operation of the immigration

                                                   19
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                  Page 20 of 22 PageID 3930


system.” Judulang v. Holder, 565 U.S. 42, 55 (2011)

        86.     The States “bear[] many of the consequences of unlawful immigration,” which “must

not be underestimated.” Arizona v. United States, 567 U.S. 387, 397 (2012). The failure of the October

29 Memoranda to seriously evaluate these consequences was arbitrary and capricious.

                                     DEMAND FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that the Court:

a.      Postpone the effective date of Defendants’ termination of MPP effected by the October 29
        Memoranda;

b.      Hold unlawful and set aside Defendants’ termination of MPP effected by the October 29
        Memoranda;

c.      Declare that Defendants’ termination of MPP effected by the October 29 Memoranda is
        unlawful;

d.      Award Texas and Missouri the costs of this action and reasonable attorney’s fees; and

e.      Award such other and further relief as the Court deems equitable and just.




                                                  20
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22         Page 21 of 22 PageID 3931




Dated: August 8, 2022              Respectfully submitted,

ERIC S. SCHMITT                    KEN PAXTON
Attorney General of Missouri       Attorney General of Texas

/S/ D. JOHN SAUER                  BRENT WEBSTER
D. JOHN SAUER, #58720MO*           First Assistant Attorney General
Solicitor General
                                   JUDD E. STONE II
MICHAEL E. TALENT, #73339MO *      Solicitor General
Deputy Solicitor General           Texas Bar No. 24076720

OFFICE OF THE ATTORNEY GENERAL     PATRICK K. SWEETEN
Supreme Court Building             Deputy Attorney General for Special Litigation
207 West High Street               Texas Bar No. 00798537
P.O. Box 899
Jefferson City, Missouri 65102     WILLIAM T. THOMPSON
Tel. (573) 751-8870                Deputy Chief, Special Litigation Unit
Fax (573) 751-0774                 Attorney-in-Charge
John.Sauer@ago.mo.gov              Texas Bar No. 24088531

Counsel for Plaintiff              /s/ Ryan D. Walters
State of Missouri                  RYAN D. WALTERS
                                   Special Counsel
*Admitted pro hac vice             Texas Bar No. 24105085

                                   OFFICE OF THE ATTORNEY GENERAL
                                   SPECIAL LITIGATION UNIT
                                   P.O. Box 12548 (MC-009)
                                   Austin, Texas 78711-2548
                                   Tel.: (512) 936-1414
                                   Fax: (512) 457-4410
                                   patrick.sweeten@oag.texas.gov
                                   will.thompson@oag.texas.gov
                                   ryan.walters@oag.texas.gov

                                   Counsel for Plaintiff
                                   State of Texas




                                     21
Case 2:21-cv-00067-Z Document 148-1 Filed 08/08/22                 Page 22 of 22 PageID 3932


                                    CERTIFICATE OF SERVICE

       I certify that on August 8, 2022, a true and accurate copy of the foregoing document was filed

electronically (via CM/ECF) and served on all counsel of record.

                                                            /s/ Ryan D. Walters
                                                            RYAN D. WALTERS




                                                22
